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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  4:10CR00240-01-BRW

BARRY MICHAEL EASLEY

                                           ORDER

       The Prosecution has filed a motion to dismiss (Doc. No. 104) in this case as to Defendant

Barry Michael Easley, and my office has been advised by defense counsel that there is no

objection to the motion. Therefore, the motion is GRANTED and the Indictment is DISMISSED

as to this defendant.

       IT IS SO ORDERED this 22nd day of March, 2012.



                                            /s/ Billy Roy Wilson
                                            UNITED STATES DISTRICT JUDGE
